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                EXHIBIT A
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                                                  U.S. Department of Justice



                                                  Special Counsel




                                                                 March 30, 2022

Sean Berkowitz, Esq.
Michael Bosworth, Esq.
Latham & Watkins LLP



Dear Counsel:

       Pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G), the government provides
notice of its intention to call an expert witness at the upcoming trial of defendant Michael
Sussmann to testify regarding Domain Name System (“DNS”) data and other matters relevant
to cyber investigations. As detailed below, the government hereby discloses that it intends to
call FBI Unit Chief/Special Agent David Martin, who is currently assigned the FBI’s Cyber
Division, Technical Analysis Unit.

       The government also provides attached hereto a copy of UC Martin’s curriculum vitae.

I.     Domain Name System Data and Analysis

        As set forth in the Indictment, the data underlying the allegations that the defendant
provided to the FBI and Agency-2 was purported DNS data. The primary purpose of UC
Martin’s testimony will be to describe for the jury the basic mechanics, architecture, and
terminology of the DNS system and DNS data so that they can understand various technical
concepts that appear in documents and other evidence that the Government will offer at trial.
UC Martin’s testimony will explain, for example, that DNS is a naming system for devices
connected to the Internet that translates recognizable domain names, e.g.,
http://www.google.com, to numerical IP addresses, e.g., 123.456.7.89. He will further explain
that a DNS “lookup” refers to an electronic request by a particular computer or device from
another device or server. UC Martin will also describe how DNS lookups are initiated and
processed, and how various DNS data and records are maintained on electronic servers and
systems associated with DNS.

        As part of his testimony, UC Martin will describe how certain private companies and
entities maintain DNS “resolvers” and, in some cases, offer “DNS resolution services” to their
customers. In explaining these concepts, he will also explain how DNS data is typically
processed and stored by these and other entities. He will further describe how certain private
parties can and do gain access to DNS data, and how certain companies collect and
commercialize DNS data, including what is referred to as “passive DNS data.”
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       UC Martin will also provide the jury with specific examples of DNS data in order to
describe the interpretation and meaning of such data, including particular fields that appear
within the data. He will further testify concerning the nature and types of conclusions that can
– and cannot – be drawn about persons’ or entities’ online activities based on a review of DNS
data. He will also testify about the analytic significance and conclusions that can be drawn
based on the provenance and origins (e.g., collection source) of DNS data.

II.    TOR

        As part of his testimony, UC Martin will also explain the Onion Router (“TOR”), which
is a free and open-source software for enabling anonymous communications. He will describe
common terms used in connection with TOR, including the concept of a “TOR exit node.”
(As you are aware, a white paper that the defendant submitted to FBI General Counsel Baker
contained assertions about the purported use of a TOR exit node by the Trump Organization
and Alfa Bank.) UC Martin will explain common uses of TOR, as well as investigative steps
and methods for analyzing online activities involving TOR.

III.   Additional Testimony

        You have indicated in recent discussions that you may seek to limit the testimony and
evidence at trial concerning the purported DNS data solely to that which reflects the
defendant’s state of mind and subjective understanding of the purported DNS data at issue in
this case. We therefore understand that you are not currently inclined to offer evidence, or
engage in questioning, that would imply, assert, or seek to prove the authenticity of the relevant
DNS data or the actual truth of the allegations at issue concerning a secret channel of
communications between the Trump Organization and Alfa Bank. If the defense, however,
does cross examine Government witnesses or calls its own witnesses to testify in a manner that
seeks to establish or encourage particular conclusions in this regard, then the Government
reserves the right to have UC Martin testify concerning:

            the authenticity vel non of the purported data supporting the allegations provided
             to the FBI and Agency-2;

            the possibility that such purported data was fabricated, altered, manipulated,
             spoofed, or intentionally generated for the purpose of creating the false
             appearance of communications;

            whether the DNS data that the defendant provided to the FBI and Agency-2
             supports the conclusion that a secret communications channel existed between
             and/or among the Trump Organization, Alfa Bank, and/or Spectrum Health;

            whether DNS data provided to Agency-2 supports the conclusion that Donald
             Trump and/or his associates used one or more Russian-made phones in the



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              vicinity of Trump Tower, Trump’s Central Park West Apartment Building,
              Spectrum Health, and the White House; and

           the validity and plausibility of the other assertions and conclusions set forth in
            the various white papers that the defendant provided to the FBI and Agency-2;

                                       *      *       *

       The government reserves the right to call additional expert witnesses and/or substitute
expert witnesses. The government will comply with its obligations under Federal Rule of
Criminal Procedure 16(a)(1)(G) and Federal Rules of Evidence 702, 703, and 705. The
government will notify you in a timely fashion of any additional or substitute experts that the
government intends to call at trial and provide you with a summary of the experts’ opinions.
The Government will supplement this notice as appropriate and as more information becomes
available.

       Finally, the government renews its request for reciprocal discovery, including any and
all expert disclosures.



                                                   Very truly yours,

                                                   JOHN H. DURHAM
                                                   Special Counsel

                                           By:      /s/ ________
                                                   Jonathan E. Algor
                                                   Andrew J. DeFilippis
                                                   Michael Keilty
                                                   Brittain Shaw
                                                   Assistant Special Counsels




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CURRICULUM VITAE

                      David M. Martin, GSE
                      Unit Chief
                      Federal Bureau of Investigation
                      Cyber Technical Analysis Unit
                      PHONE: 703-633-6932
                      dmmartin@fbi.gov

PROFESSIONAL EXPERIENCE

Feb 2022 – Present      Unit Chief
                        FBI Cyber Division
                        Cyber Technical Analysis Unit
                        Chantilly, VA

                        Lead a team of over 50 FBI employees and contractors responsible for the FBI
                        Cyber Division’s Advanced Digital Forensics, Malware Automation, Data and
                        Network Analysis, and New and Emerging Technology programs. Responsible
                        for establishing unified ingest and processing system for all FBI Cyber technical
                        data, establishing best practices and performing technical review of all reporting
                        produced by CTAU.

Nov 2021 – Feb 2022     Supervisory Special Agent / Acting Unit Chief
                        FBI Cyber Division
                        Cyber Technical Analysis Unit
                        Chantilly, VA

                        Program manager for the Advanced Digital Forensics program, which provides
                        digital forensics and malware reverse-engineering services for the most complex
                        computer intrusion cases across all FBI field offices and conducts technical
                        review of Cyber intelligence products. Managed personnel, prioritized cases,
                        and reviewed reports for accuracy, completeness, and investigative value.

Oct 2017 – Nov 2021     Supervisory Special Agent
                        Cyber Action Team Director
                        FBI Cyber Division
                        Cyber Technical Operations Unit
                        Chantilly, VA

                        Established the vision and direction for CAT while directing all operations and
                        deployments. Managed the selection, training and readiness of CAT personnel
                        and the procurement, development and maintenance of a wide range of
                        specialized equipment and software needed to accomplish the team's mission.
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Sep 2015 – Sept 2017 Supervisory Special Agent
                     FBI Cyber Division
                     Technical Operations Unit
                     Chantilly, VA

                       Managed the development and implementation multiple technical operations
                       using a variety of techniques and technical platforms to target criminal and
                       nation-state cyber threat actors. Served as a Team Lead on CAT and led
                       multiple domestic and foreign deployments

July 2009 – Sep 2015   Special Agent
                       Detroit Cyber Task Force
                       FBI Detroit Field Office
                       Detroit, MI

                       Conducted investigations into matters criminal and national security computer
                       intrusions, intellectual property rights, online child involving computer intrusions
                       that affect the security of the United States or are conducted in violation of
                       Federal Statutes. Prepared cases for presentation to the United States
                       Attorney’s Office for prosecution. Testified before Federal Grand Juries and in
                       Federal District Court. Conducted forensic examinations on computer evidence;
                       analyzed network traffic, log files and unknown binary files for evidence of
                       computer intrusion activity.

Dec 2002 – July 2009   Senior Police Officer / Acting Sergeant
                       Littleton Police Department
                       Littleton, CO

                       Responsible for responding to emergencies, investigating criminal and
                       suspicious activity, making arrests and issuing citations as a Patrol officer and
                       the primary relief supervisor for a patrol shift. I held ancillary duties as a SWAT
                       Operator, Crisis Intervention Team member, Field Training Instructor, Firearms
                       Instructor, Defensive Tactics Instructor and Computer Automation Instructor.

April 2001 – July 2002 Computer Crime Specialist
                       Colorado Bureau of Investigation
                       Lakewood, CO

                       Assisted in computer crime investigations, including child sexual exploitation,
                       internet fraud, and other felonies involving the use of a computer. Conducted
                       forensic examinations of computer evidence. Developed and maintained
                       software applications, hardware and computer networks for the Investigations
                       Division.


EDUCATION

Oct 2014 – July 2017   SANS Technology Institute
                       Baltimore, MD
                       Master of Science in Information Security Engineering
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Sept 1998 – June 2002 University of Denver
                      Denver, CO
                      Bachelor of Science in Computer Science and Psychology
                      Minors in Math and Business Administration


PROFESSIONAL TRAINING

Aug 2021        Hacking and Securing Cloud Infrastructure
                Black Hat, Online (32 Hours)

Aug 2019        Splunk Administration
                Splunk, Reston VA (40 Hours)

Aug 2017        IDA Pro Basic and Advanced
                Black Hat, Las Vegas NV (32 Hours)

Oct 2016        SEC 566 – Implementing and Auditing the Critical Security Controls
                SANS Institute, Online (36 hours)

June 2016      MGT 525 - IT Project Management
               SANS Institute, Washington, DC (36 hours)

Aug 2014        SEC 504 - Hacker Techniques, Exploits and Incident Handling
                SANS Institute, Boston, MA (48 hours)

July 2014       FOR 610 - Reverse Engineering Malware: Malware Analysis Tools and Techniques
                SANS Institute, Online (48 Hours)

Feb 2014        FOR 508 - Advanced Computer Forensic Analysis and Incident Response
                SANS Institute, Online (48 Hours)

Aug 2013        FOR 408 - Computer Forensic Investigations: Windows In-Depth
                SANS Institute, Online (48 Hours)

Aug 2012        Forensic Toolkit Bootcamp
                Access Data, Baltimore, MD (24 Hours)

May 2012        Digital Extraction Technician (DExT) / CART Technician
                FBI Computer Analysis and Response Team (CART), Quantico, VA (72 Hours)

Dec 2011       SEC 503 - Intrusion Detection In-Depth
               SANS Institute, Washington, DC (48 Hours)

July 2011       CYD 3450 – Intrusion Response
                Mandiant, St. Louis, MO (32 Hours)

May 2011        CYD 3350 – Network Traffic Analysis
                Mandiant, Richmond, VA (24 Hours)

April 2011      CYD 3310 – Advanced Network Investigation Techniques – UNIX
                Mandiant, Denver, CO (24 Hours)
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March 2011      SEC 401 – Security Essentials Bootcamp Style
                SANS Institute, Phoenix, AZ (48 Hours)

Feb 2011        CYD 1125 – Cyber Stage 2 Training/Windows Intrusion Response
                Mandiant/FBI Academy, Quantico, VA (80 Hours)

Sep 2010        Basic Online Undercover Course
                FBI Innocent Images, Calverton, MD (40 Hours)

Sep 2010        CYD 2300 – Wireless Technology
                Mandiant, Calverton, MD (16 Hours)

July 2010      CYD 2200 – Network+ Certification
               FBI Cyber Division, Calverton, MD (40 Hours)

March 2010      CYD 1200 – A+ Certification
                FBI Cyber Division, Calverton, MD (80 Hours)

Jul-Nov 2009    New Agents Training
                FBI Academy, Quantico, VA (776 Hours)

2008            Law Enforcement Supervisory Institute
                Colorado Peace Officer Standards and Training, Centennial, CO (40 Hours)

2006            Field Training Instructor Certification
                Kaminsky and Associates, Littleton, CO (40 Hours)

2006            Internet Investigations and Windows Forensics
                Microsoft/Colorado Attorney General’s Office (32 Hours)

2005            Interview and Interrogation
                John E. Reid and Associates, Aurora, CO (40 Hours)

2002            Computer Crime and Digital Evidence Techniques
                Colorado Association of Computer Crime Investigators, Golden, CO (16 Hours)

CERTIFICATIONS & AWARDS

July 2019       Countering Technical and Cyber Threats Award - National Counterintelligence and
                Security Center

Oct 2018       US Attorney’s Award – United States Attorney’s Office, Eastern District of Michigan

Oct 2017        Attorney General’s Award for Excellence in Information Technology – US Department of
                Justice

May 2017        GIAC Security Expert (GSE) - Global Information Assurance Certification

Nov 2016       GIAC Critical Controls Certification (GCCC) - Global Information Assurance Certification

Aug 2016        GIAC Certified Project Manager (GCPM) - Global Information Assurance Certification
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Sept 2014     GIAC Certified Incident Handler (GCIH) - Global Information Assurance Certification

July 2014     GIAC Reverse Engineering Malware (GREM) – Global Information Assurance
              Certification

May 2014      US Attorney’s Award – United States Attorney’s Office, Eastern District of Michigan

Feb 2104      GIAC Certified Forensic Analyst - GOLD (GCFA) - Global Information Assurance
              Certification

Aug 2013      GIAC Certified Forensic Examiner (GCFE) - Global Information Assurance Certification

May 2012      DExT / CART Tech Certification – FBI

April 2012    GIAC Certified Intrusion Analyst – GOLD (GCIA) - Global Information Assurance
              Certification

April 2011    GIAC Security Essentials Certification – GOLD (GSEC) - Global Information Assurance
              Certification

July 2010     Network+ Certification – CompTIA

March 2010    A+ Certification – CompTIA

June 2004     Medal of Valor – Littleton Police Department

July 2002     Director’s Award – Colorado Bureau of Investigation

PUBLICATIONS & PRESENTATIONS

Oct 2019      Speaker: “Already Pwn3d: Deep Dive into Incident Response and Forensics Data,”
              Splunk .conf 2019, Las Vegas NV

Feb 2017      Peer-reviewed research paper: “OS X as a Forensic Platform,” SANS Institute

Dec 2016      Speaker: “Gh0st in the Dshell: Decoding Undocumented Protocols,” SANS Cyber
              Defense Institute 2016, Washington DC.

June 2016     Peer-reviewed research paper: “Gh0st in the Dshell: Decoding Undocumented
              Protocols,” SANS Institute

April 2016    Speaker: “Tracing the Lineage of DarkSeoul,” SANS Northern Virginia 2016, Reston VA

March 2016    Peer-reviewed research paper: “Tracing the Lineage of DarkSeoul.” SANS Institute
